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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     )
KELVIN STEWART,                      )
                                     )
      Plaintiff,                     )
                                     )
v.                                   )  Case No. 2:18-cv-05219-JCJ
                                     )
AMERICAN AIRLINES, INC.,             )
                                     )
      Defendant.                     )
____________________________________)

                                            ORDER

       AND NOW, this           day of                               , 2019, upon consideration of

Defendant American Airlines, Inc.’s Motion to Partially Dismiss Plaintiff’s Complaint (the

“Motion”), any responses thereto, and oral argument, if any, it is hereby

       ORDERED and DECREED that the Motion is GRANTED and Counts V, VII, and IX

of Plaintiff’s Complaint are DISMISSED. Count VIII of Plaintiff’s Complaint also is

DISMISSED to the extent it contains claims of hostile work environment.



                                             BY THE COURT:



                                             J. CURTIS JOYNER
                                             SENIOR UNITED STATES DISTRICT JUDGE




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